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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: NATIONAL FOOTBALL                                 No. 12-md-2323 (AB)
LEAGUE PLAYERS’ CONCUSSION
INJURY LITIGATION                                        MDL No. 2323


________________________
                                                         SHORT FORM COMPLAINT
THIS DOCUMENT RELATES TO:
                                                         IN RE: NATIONAL FOOTBALL
Plaintiffs’ Master Administrative Long-                  LEAGUE PLAYERS’ CONCUSSION
Form Complaint and (if applicable)                       INJURY LITIGATION
KEN STABLER, et al.
__________________________________
v. National Football League [et al.],
    2:12-cv-04186-AB
No. _______________________________
                                                         JURY TRIAL DEMANDED




                                 SHORT FORM COMPLAINT

       1.      Plaintiff(s), _______________________________________,
                             Burgess Owens                            (and, if applicable,

Plaintiff’s Spouse) ________________________,
                    Josie Owens               bring(s) this civil action as a related action in

the matter entitled IN RE: NATIONAL FOOTBALL LEAGUE PLAYERS’ CONCUSSION

INJURY LITIGATION, MDL No. 2323.


       2.      Plaintiff (and, if applicable, Plaintiff’s Spouse) is/are filing this short form

complaint as required by this Court’s Case Management Order No. 2, filed April 26, 2012.


       3.      Plaintiff (and, if applicable Plaintiff’s Spouse), incorporate(s) by reference the

allegations (as designated below) of the Master Administrative Long-Form Complaint, as may

be amended, as if fully set forth at length in this Short Form Complaint.




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       4.      [Fill in if applicable] Plaintiff is filing this case in a representative capacity as the

N/A
_____________________    N/A
                      of __________________________, having been duly appointed as the

N/A
_________________        N/A
                  by the ______________          N/A
                                        Court of ___________________. (Cross out

sentence below if not applicable.) Copies of the Letters of Administration/Letters Testamentary

for a wrongful death claim are annexed hereto if such Letters are required for the commencement

of such a claim by the Probate, Surrogate or other appropriate court of the jurisdiction of the

decedent.


       5.                 Burgess Owens
               Plaintiff, _________________, is a resident and citizen of

 Downingtown, Pennsylvania
________________________________________ and claims damages as set forth below.


       6.                                                  Josie Owens
               [Fill in if applicable] Plaintiff’s spouse, _______________, is a resident and

           Downingtown, PA
citizen of __________________, and claims damages as a result of loss of consortium

proximately caused by the harm suffered by her Plaintiff husband/decedent.


       7.      On information and belief, the Plaintiff (or decedent) sustained repetitive,

traumatic sub-concussive and/or concussive head impacts during NFL games and/or practices.

On information and belief, Plaintiff suffers (or decedent suffered) from symptoms of brain injury

caused by the repetitive, traumatic sub-concussive and/or concussive head impacts the Plaintiff

(or decedent) sustained during NFL games and/or practices. On information and belief,

the Plaintiff's (or decedent's) symptoms arise from injuries that are latent and have developed

and continue to develop over time.


       8.      [Fill in if applicable] The original complaint by Plaintiff(s) in this matter was filed

   USDC - E. District of Pennsylvania
in _______________________________.   If the case is remanded, it should be remanded to

N/A
______________________________.


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        9.      Plaintiff claims damages as a result of [check all that apply]:


                ✔
                __      Injury to Herself/Himself


                __      Injury to the Person Represented


                __      Wrongful Death


                __      Survivorship Action


                ✔
                __      Economic Loss


                ✔
                __      Loss of Services


                ✔
                __      Loss of Consortium


        10.     [Fill in if applicable] As a result of the injuries to her husband,

Burgess Owens
_______________________,                     Josie Owens
                         Plaintiff’s Spouse, ________________________, suffers from a

loss of consortium, including the following injuries:

        ✔ loss of marital services;
        __


        ✔ loss of companionship, affection or society;
        __


        ✔ loss of support; and
        __


        ✔ monetary losses in the form of unreimbursed costs she has had to expend for the
        __

        health care and personal care of her husband.


N/A     11.     [Check if applicable] ___ Plaintiff (and Plaintiff’s Spouse, if applicable)

reserve(s) the right to object to federal jurisdiction.




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                                         DEFENDANTS


       12.     Plaintiff (and Plaintiff’s Spouse, if applicable) bring(s) this case against the

following Defendants in this action [check all that apply]:


               ✔
               __     National Football League


               ✔
               __     NFL Properties, LLC


               __     Riddell, Inc.


               __     All American Sports, Inc. (d/b/a Riddell Sports Group, Inc.)


               __     Riddell Sports Group, Inc.


               __     Easton-Bell Sports, Inc.


               __     Easton-Bell Sports, LLC


               __     EB Sports Corporation


               __     RBG Holdings Corporation

N/A    13.     [Check where applicable] As to each of the Riddell Defendants referenced above,

the claims asserted are: ___ design defect; ___ informational defect; ___ manufacturing defect.

N/A    14.     [Check if applicable] ___ The Plaintiff (or decedent) wore one or more helmets

designed and/or manufactured by the Riddell Defendants during one or more years Plaintiff (or

decedent) played in the NFL and/or AFL.


       15.                                                ✔ the National Football League
               Plaintiff played in [check if applicable] ____

(“NFL”) and/or in [check if applicable] ___ the American Football League (“AFL”) during

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10 years
____________________________________ for the following teams:____________________

New York Jets (1973-79), Oakland/L.A. Raiders (1980-82)
______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________

_______________________________________.


                                     CAUSES OF ACTION


       16.     Plaintiff herein adopts by reference the following Counts of the Master

Administrative Long-Form Complaint, along with the factual allegations incorporated by

reference in those Counts [check all that apply]:


               ✔
               __     Count I (Action for Declaratory Relief – Liability (Against the NFL))


               ✔
               __     Count II (Medical Monitoring (Against the NFL))


               __     Count III (Wrongful Death and Survival Actions (Against the NFL))


               ✔
               __     Count IV (Fraudulent Concealment (Against the NFL))


               ✔
               __     Count V (Fraud (Against the NFL))


               ✔
               __     Count VI (Negligent Misrepresentation (Against the NFL))


               __     Count VII (Negligence Pre-1968 (Against the NFL))


               ✔
               __     Count VIII (Negligence Post-1968 (Against the NFL))


               __     Count IX (Negligence 1987-1993 (Against the NFL))


               ✔
               __     Count X (Negligence Post-1994 (Against the NFL))


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            ✔
            __    Count XI (Loss of Consortium (Against the NFL Defendants))


            ✔
            __    Count XII (Negligent Hiring (Against the NFL))


            ✔
            __    Count XIII (Negligent Retention (Against the NFL))


            __    Count XIV (Strict Liability for Design Defect (Against the Riddell

                  Defendants))


           __     Count XV (Strict Liability for Manufacturing Defect (Against the Riddell

                  Defendants))


           __     Count XVI (Failure to Warn (Against the Riddell Defendants))


           __     Count XVII (Negligence (Against the NFL Defendants))


           ✔
           __     Count XVIII (Civil Conspiracy/Fraudulent Concealment (Against All the NFL

                  Defendants))


     17.   Plaintiff asserts the following additional causes of action [write in or attach]:


______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________




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                                    PRAYER FOR RELIEF


        WHEREFORE, Plaintiff (and Plaintiff’s Spouse, if applicable) pray(s) for judgment as

follows:


        A. An award of compensatory damages, the amount of which will be determined at trial;


        B. For punitive and exemplary damages as applicable;


        C. For all applicable statutory damages of the state whose laws will govern this action;


        D. For medical monitoring, whether denominated as damages or in the form of equitable

           relief;


        E. For an award of attorneys’ fees and costs;


        F. An award of prejudgment interest and costs of suit; and


        G. An award of such other and further relief as the Court deems just and proper.


                                      JURY DEMANDED


        Pursuant to Federal Rule of Civil Procedure 38, Plaintiff(s) hereby demand(s) a trial by

jury.


                                                     RESPECTFULLY SUBMITTED:

                                                        s/Richard Lewis
                                                     __________________________________
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                                                        Jeannine Kenney
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